                  Case 23-905, Document 42, 10/05/2023, 3577961, Page1 of 1
                           UNITED STATES COURT OF APPEALS
                                           for the
                                    SECOND CIRCUIT
                       ____________________________________________

         At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
the 5th day of October, two thousand twenty-three,

____________________________________

Structured Asset Sales, LLC,                                ORDER
                                                            Docket No: 23-905
lllllllllllllllllllllPlaintiff - Appellant,

v.

Edward Christopher Sheeran, personally known as Ed
Sheeran, Sony/ATV Music Publishing, LLC, Atlantic
Recording Corporation, DBA Atlantic Records, BDi Music
Ltd., Bucks Music Group Ltd., The Royalty Network, Inc.,
David Platz Music (USA) Inc., Amy Wadge, Jake Gosling,

lllllllllllllllllllllDefendants - Appellees,


Ed Sheeran Limited, Gingerbread Man Records, Amy Wadge
Records, Sticky Studios, Sony/ATV Music Publishing, LTD.
UK, Atlantic Records UK, BDi Music, Bucks Music Group,
Warner Music Group Corporation, DBA Asylum Records,
Warner Music Group, LTD UK, Does 1-10,

lllllllllllllllllllllDefendants.
_______________________________________

      Counsel for APPELLEES has filed a scheduling notification pursuant to the Court's Local
Rule 31.2, setting December 29, 2023 as the brief filing date.

        It is HEREBY ORDERED that Appellee's brief must be filed on or before December 29,
2023. If the brief is not filed by that date, the appeal will proceed to a merits panel for
determination forthwith, and Appellees will be required to file a motion for permission to file a
brief and appear at oral argument. A motion to extend the time to file the brief or to seek other
relief will not toll the filing date. See Local Rule 27.1(f)(1); cf. RLI Insurance Co. v. JDJ Marine,
Inc., 716 F.3d 41, 43-45 (2d Cir. 2013).


                                                       For The Court:
                                                       Catherine O'Hagan Wolfe,
                                                       Clerk of Court
